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2                             UNITED STATES DISTRICT COURT FOR THE

3                                  EASTERN DISTRICT OF CALIFORNIA

4

5
     UNITED STATES OF AMERICA,                      )       Case No. 1:02-cr-05301-AWI
6                                                   )
                     Plaintiff,                     )
7                                                   )
     v.                                             )       ORDER ON AMENDED MOTION TO
8                                                   )       DISMISS SUPERSEDING INDICTMENT
                                                    )
9    EGGERT JENSEN,                                 )
     BENTE JENSEN,                                  )
10   JEAN-MICHAEL FRANCES CATIN,                    )
     MARCEL EGLI,                                   )
11   DIRK-JANS PRINS, and                           )
     PETER ALTHAUS,                                 )
12                                                  )
                                                    )
13                   Defendants.                    )
                                                    )
14
                                                  ORDER
15

16            Under Rule 48(a) of the Federal Rules of Criminal Procedure, the United States has moved
17   for an order dismissing the charges in the superseding indictment in the above-captioned action
18
     against the named defendants. It is hereby ORDERED that the indictment and superseding
19
     indictment are dismissed, as to these named defendants only, and the related arrest warrants are
20
     recalled.
21

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23
     IT IS SO ORDERED.
24
     Dated:      October 6, 2014
25                                                  SENIOR DISTRICT JUDGE
26
27

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